        Case 4:23-cv-04155-YGR Document 134-2 Filed 01/26/24 Page 1 of 2




 1 MICHAEL W. BIEN – 096891                       OREN NIMNI*
     ERNEST GALVAN – 196065                        Mass. Bar No. 691821
 2   KARA J. JANSSEN – 274762                     AMARIS MONTES*
     ADRIENNE SPIEGEL – 330482                     Md. Bar No. 2112150205
 3   LUMA KHABBAZ – 351492                        D DANGARAN*
     ROSEN BIEN                                    Mass. Bar No. 708195
 4   GALVAN & GRUNFELD LLP                        RIGHTS BEHIND BARS
     101 Mission Street, Sixth Floor              416 Florida Avenue N.W. #26152
 5   San Francisco, California 94105-1738         Washington, D.C. 20001-0506
     Telephone:    (415) 433-6830                 Telephone:    (202) 455-4399
 6   Email:        mbien@rbgg.com                 Email:        oren@rightsbehindbars.org
                   egalvan@rbgg.com                             amaris@rightsbehindbars.org
 7                 kjanssen@rbgg.com                            d@rightsbehindbars.org
                   aspiegel@rbgg.com
 8                 lkhabbaz@rbgg.com              STEPHEN S. CHA-KIM*
                                                   N.Y. Bar No. 4979357
 9 SUSAN M. BEATY – 324048                        ARNOLD & PORTER KAYE SCHOLER LLP
   CALIFORNIA COLLABORATIVE FOR                   250 West 55th Street
10 IMMIGRANT JUSTICE                              New York, New York 10019-9710
   1999 Harrison Street, Suite 1800               Telephone: (212) 836-8000
11 Oakland, California 94612-4700                 Email:      stephen.cha-kim@arnoldporter.com
   Telephone:    (510) 679-3674
12 Email:        susan@ccijustice.org             CARSON D. ANDERSON – 317308
                                                  ARNOLD & PORTER KAYE SCHOLER LLP
13                                                3000 El Camino Real
                                                  Five Palo Alto Square, Suite 500
14                                                Palo Alto, California 94306-3807
                                                  Telephone: (650) 319-4500
15                                                Email:       carson.anderson@arnoldporter.com
                                                  *
16                                                    Admitted pro hac vice
     Attorneys for Plaintiffs
17
18                                    UNITED STATES DISTRICT COURT

19                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

20
21 CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,
22                                                        [PROPOSED] ORDER GRANTING
                        Plaintiffs,                       PLAINTIFFS’ EX PARTE REQUEST
23                                                        FOR ENLARGEMENT OF TIME
                   v.                                     UNDER FED. R. CIV. P. 6(b) &
24                                                        4(i)(4)(B)
   UNITED STATES OF AMERICA FEDERAL
25 BUREAU OF PRISONS et al.,                              Judge:   Hon. Yvonne Gonzalez Rogers

26                      Defendants.                       Trial Date:         None Set

27
28
     [4424910.1]                                                        Case No. 4:23-cv-04155-YGR
         [PROPOSED] ORDER GRANTING PLAINTIFFS’ EX PARTE REQUEST FOR ENLARGEMENT OF TIME
                                UNDER FED. R. CIV. P. 6(b) & 4(i)(4)(B)
        Case 4:23-cv-04155-YGR Document 134-2 Filed 01/26/24 Page 2 of 2




 1                 The Court having considered Plaintiffs’ ex parte request and the entire record in this
 2 case, and good cause appearing, now ORDERS as follows:
 3                 Plaintiffs shall be permitted additional time to effect service on the following
 4 Defendants:
 5                        LIEUTENANT CYNTHIA JONES
 6                        OFFICER LEWIS
 7                        OFFICER NAKIE NUNLEY
 8                        OFFICER SERRANO
 9                        OFFICER DARRELL SMITH
10                        OFFICER VASQUEZ or VAZQUEZ
11                 These Defendants shall be served on or before March 15, 2024.
12                 IT IS SO ORDERED.
13
14 DATED: ____________, 2024
                                                       Honorable Yvonne Gonzalez Rogers
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     [4424910.1]                                1                       Case No. 4:23-cv-04155-YGR
         [PROPOSED] ORDER GRANTING PLAINTIFFS’ EX PARTE REQUEST FOR ENLARGEMENT OF TIME
                                UNDER FED. R. CIV. P. 6(b) & 4(i)(4)(B)
